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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                 Plaintiffs,
            v.
                                                         CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                 Defendants.



                               ______________________________

    STATE OF FLORIDA AND FLORIDA DEPARTMENT OF ENVIRONMENTAL
               PROTECTION’S CROSS-MOTION TO DISMISS
                      _____________________________

       Pursuant to Federal Rules of Civil Procedure 56, 12(b)(1), and 12(b)(6), the State of

Florida and the Florida Department of Environmental Protection (“Florida Intervenors”)

respectfully request that this Court grant Florida Intervenors’ cross-motion to dismiss and deny

Plaintiffs’ motion for summary judgment. Florida Intervenors submit the attached consolidated

brief in support of this motion and in opposition to Plaintiffs’ motion for summary judgment.


 Dated: April 26, 2021.                             Respectfully submitted,
                                                    BAKER BOTTS L.L.P.

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                               CERTIFICATE OF SERVICE

       Pursuant to Local Civil Rule 5.3, I hereby certify that on this 26th day of April 2021, I

electronically filed the foregoing document using the CM/ECF system. Service was accomplished

by the CM/ECF system.


                                                  Respectfully submitted,
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